
*608OPINION.
Steeni-iaobn :
That a book entry recording an appreciation in the value of capital assets above their original cost does not justify the inclusion of the amount in invested capital is too well established to require more than the citation of La Belle Iron Works v. United States, 256 U. S. 377.
The evidence is not sufficient to establish that on March 1, 1913, the property had a value in excess of its cost in 1910. It appears that the property was bought from the prior owner because a quick sale was desired, but it was bought in an outright business transaction after an offer was made of $100,000 by the purchaser, its consideration for several days by the seller, and its final acceptance. The purchaser believed the property was worth more, and its accountant advised it in the following year to place an added value upon the books. The evidence that there was such added value is in our opinion entirely insufficient to prove the fact. We, therefore, sustain the respondent.
Upon the issues as to the depreciation of the so-called “floating cooperage,” by which is meant the barrels and boxes in the hands of customers, and the question of the alleged costs of repairs upon cases, the evidence is likewise insufficient. It consists entirely of the statement of an accountant who began the monthly and annual auditing of the petitioner’s books in 1920, and he had no direct knowledge of the facts as to the earlier depreciation or as to the actual *609repair of cases. He kjnew only tbat certain entries had been made and had examined the vouchers to see what the alleged repair expenditures purported to cover. What the facts were can not be determined from the record.
Upon all the issues raised the respondent is sustained.

Judgment will be entered on 15 days' notice, under Rule 50.

